                   Case 1:22-cv-01001-CKK Document 26 Filed 10/05/22 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 1:22-cv-01001-CKK

                                                          PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fed. R.. Civ. P. 4 (I))

        This summons for (name of individual and title,      ifany) Traci Callandrillo was received by me on (date) Sep 22, 2022, 5:51


        [!] I personally served the summons on the individual at (place) 4400 Massachusetts Ave NW 4 Fl, Washington, DC
                 20016 on (date) Fri, Sep 23 2022 ; or
        D        I left the summons at the individual's residence or usual place of abode with (name) _________ , a
                 person of suitable age and discretion who resides there, on {date)                     , and mailed a copy to
                 the individual's last known address; or
        D        I served the summons on (name ofindividual) _________ , who is designated by law to accept service
                 of process on behalf of (name oforgani=ation)          on (date) _________; or
        D        I returned the summons unexecuted because: _________ ; or

        D        Other:   ---------; or
        My fees are $ _________ for travel and$ _________ for services, for a total of$!-

        1 declare under penalty of perjury that this information is true.


Date: 9-30-2022


                                                                                              Server's signature
                                                                    Raphael Trice
                                                                                            Printed name and title


                                                                    1133 13th St NW Ste C4, Washington, DC 20005
                                                                                               Server's address

Additional information regarding attempted service, etc.:
I) Successful Attempt: Sep 23, 2022, 4:51 pm EDT at Traci: 4400 Massachusetts Ave NW 4 Fl, Washington, DC 20016 received
by Traci Callandrillo . Age: 55; Ethnicity: Caucasian; Gender: Female; Weight: 135 Lbs; Height: 5'5"; Hair: Black; Eyes: Brown;

DOCUMENTS SERVED: Summons in a Civil Action; Civil Cover Sheet (ECF 1-1); Complaint (ECF 1); Amended Complaint
(ECF 6); Order Establishing Procedures for Cases Assigned to Judge Colleen Kollar-Kotelly (ECF 5).




                                                                                                       RECEIVED
                                                                                                              OCT 5 2022
                                                                                                           Clerk, U.S. District & Bankruptcy
                                                                                                           Court for the District of Columbia
